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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

 CLIFFORD L. ROBINSON,
                                               CASE NO. 2:20-CV-5611
        Petitioner,                            CRIM. NO. 2:14-CR-127(16)
                                               CHIEF JUDGE ALGENON L. MARBLEY
        v.                                     Magistrate Judge Chelsey M. Vascura

 UNITED STATES OF AMERICA,

        Respondent.

                            REPORT AND RECOMMEND ATION

        Petitioner, a federal prisoner, brings this Motion to Vacate under 28 U.S.C. § 2255. This

 matter is before the Court on to its own motion to consider the sufficiency of the petition

 pursuant to Rule 4(b) of the Rules Governing Section 2255 Proceedings. For the reasons that

 follow, it is RECOMMENDED that this action be dismissed pursuant to Rule 4.

                                       I.      BACKGROUND

    The United States Court of Appeals for the Sixth Circuit summarized the facts and

 procedural history of the case as follows:

        The Short North Posse gang—and its two subsidiaries, the Homicide Squad and
        Cut Throat Committee—wreaked havoc for the better part of a decade in the Short
        North neighborhood of Columbus, Ohio. To support its drug enterprise, the Short
        North Posse conducted brutal home-invasion style robberies and planned and
        executed the murder of rivals, high-value targets, and cooperating witnesses. After
        a two-month-long jury trial, four of the five appellants—Robert Ledbetter, Deounte
        Ussury, Rashad Liston, and Christopher Harris—were convicted of RICO
        conspiracy for their membership in the Short North Posse enterprise. All five,
        including Clifford Robinson, were convicted of various murders in aid of
        racketeering and other similar crimes. On appeal, defendants collectively raise
        more than fifteen claims, only two of which have merit. Ussury's conviction for the
        murder of Dante Hill in aid of racketeering must be vacated because there is
        insufficient evidence that Ussury acted with the necessary statutory purpose, and
        Harris's and Robinson's convictions for murder by firearm during a crime of
        violence must be vacated in light of United States v. Davis, No. 18-431, ––– U.S. –
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        –––, ––––, 139 S. Ct. 2319, ––– L.Ed.2d ––––, 2019 WL 2570623 at *13 (June 24,
        2019).

                                                 I.

        In 2014, a federal grand jury returned an indictment against seventeen defendants,
        including the five here. The overriding count alleged a RICO conspiracy from 2004
        to 2014, in which the Short North Posse enterprise and its associates committed
        overt racketeering acts ranging from murder and robbery to drug distribution and
        witness tampering. The indictment alleged more than ten counts of murder in aid
        of racketeering. More indictments followed and eventually thirteen defendants
        pleaded guilty, one was convicted after a solo trial, and the five defendants here
        were tried together before a jury.

        At trial the Government put on more than one hundred witnesses, several of whom
        were former Short North Posse members. The evidence showed that the Short North
        Posse, which identified itself as a local affiliate of the national Crips gang, was
        engaged in buying, selling, and distributing cocaine and marijuana. The gang
        protected its business and supplemented its income through robberies, often armed
        and regularly of the brutal home-invasion variety. The Short North Posse
        maintained its clout through violence and intimidation against those who meddled
        in its business or harmed or disrespected its members.

        Apparently, Ledbetter was the de facto leader of the gang, and under his
        management the gang formed two sub-groups, known as the “Cut Throat
        Committee” and “Homicide Squad,” specializing in murders and robberies of rival
        gang members, competing drug dealers, and other deep-pocket targets. Ledbetter
        often orchestrated these jobs, and any gang members and outside associates who
        participated would typically be paid or split the spoils. Former Short North Posse
        members identified Ledbetter, Liston, Harris, and Ussury as members or associates
        of the Homicide Squad.

        At trial, the jury heard evidence about eight charged murders. . . . Those murders
        include the revenge killing of Alan Johnson for the death of Ledbetter's brother, the
        murder of Donathan Moon during a night-time raid of a target's house and business,
        and the assassination of Crystal Fyffe for her cooperation with police. In addition
        to those murders, the jury heard about many other criminal acts in furtherance of
        the enterprise conspiracy—like a 2006 gun-battle between the Short North Posse
        and its rival gang, D-Block, which saw more than three hundred rounds fired and
        several people shot. After two months of trial, each of the five defendants was
        convicted and sentenced to at least one mandatory life sentence for murder in aid
        of racketeering under 18 U.S.C. § 1959, and all but Robinson were convicted of
        RICO conspiracy, 18 U.S.C. § 1962(d), among several other convictions and
        sentences.




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 United States v. Ledbetter, 929 F.3d 338, 344-45 (6th Cir. July 26, 2019). On March 17, 2017,

 Judgment was entered and Petitioner sentenced to a term of life imprisonment on the charge of

 murder in aid of racketeering, in violation of 18 U.S.C. §§ 1959(a)(1) and 2, to be served

 consecutively to a term of life on the charge of murder through the use of a firearm during and in

 relation to a drug trafficking crime, in violation of 18 U.S.C. §§ 924(c), (j)(1) and 2. (ECF No.

 1472.) On July 3, 2019, the Sixth Circuit affirmed Petitioner’s conviction and sentence on

 murder in aid of racketeering, but vacated his judgment on use of a firearm during and in relation

 to a drug trafficking crime as invalid under United States v. Davis, -- U.S. --, 139 S.Ct. 2319

 (2019). United States v. Ledbetter, 929 F.3d at 338, 360. On October 7, 2019, the United States

 Supreme Court denied the petition for a writ of certiorari. Robinson v. United States, -- U.S. --,

 140 S.Ct. 317 (2019).

        On September 27, 2020, Petitioner executed this Motion to Vacate under 28 U.S.C. § 2255.

 (ECF No. 1679, PAGEID # 19754.) He asserts as follows:

        All I’m asking for is Justice on my identity claim, as well as me never aiding a
        Racketeering network. I also was not given the opportunity to call any witnesses
        due to my attorney’s insistence on not wanting to “tell stor[ies]” but state facts. His
        exact words.

 (ECF No. 1679, PAGEID # 19746.)

                                         II.     DISCUSSION

    The United States Court of Appeals for the Sixth Circuit rejected Petitioner’s claim of

 insufficiency of the evidence to support his conviction on murder in aid of racketeering and

 improper or inadequate identification evidence:

        Harris and Robinson were each convicted of several crimes for their involvement
        in an armed home-invasion robbery that led to the death of Donathan Moon. They
        raise various challenges to their convictions of murder in aid of racketeering, 18
        U.S.C. § 1959(a)(1), and murder by firearm during a crime of violence, 18 U.S.C.
        § 924(c), (j).

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        The evidence showed that in August 2007 Rastaman Wilson, David Hurst,
        Robinson, and Homicide Squad members Harris and R.J. Wilson conducted an
        armed home invasion at Greg Cunningham's house, which doubled as a strip club
        and event space. Harris broke down the door, and the others began the assault. As
        Robinson charged through the battered door, he saw Donathan Moon, a guest of
        Cunningham's, bolt into a bedroom and shut the door behind him. Robinson
        followed and fired three rounds from an AK-47 assault rifle through the door. Once
        Robinson's shots were fired, R.J. Wilson entered the bedroom and shot Moon to
        death with a handgun. Robinson, Harris, and the others searched the house for the
        cash they were hoping to find, but found none and left.

        The evidence supported two possible theories as to who initiated the robbery and
        why: either Robinson discovered that Cunningham kept large sums of money at his
        house/business and enlisted the Short North Posse to help steal the money in
        exchange for a cut of the loot, or Robinson was conscripted by the Short North
        Posse for the same purpose. Either way, the evidence showed that Cunningham
        often had large sums of cash at home because he ran his illegal entertainment
        business from there, and that the group was after that stash. One associate, David
        Hurst, testified that he agreed to be the getaway driver in exchange for a couple
        thousand dollars of the expected purse. From this, and the Short North Posse's
        customary splitting of robbery profits, the jury could have inferred that Harris and
        Robinson also expected to receive a cut of the proceeds in exchange for their
        service.

        1. Robinson's Identity Claim

        Robinson argues that there was insufficient evidence that he was involved in the
        robbery. However, he concedes the evidence showed that someone by the nickname
        “Tink” was involved and also that he went by “Tink.” So Robinson is left to
        speculate that someone else with the nickname “Tink” must have participated. This
        is conjecture passing for argument. Two witnesses identified Robinson in court as
        the Tink that was involved in the murder. Both witnesses also identified
        characteristics of the Tink they knew, which matched Robinson—details like where
        his mother lived and that his first name was Clifford.

        Robinson argues that all of this is insufficient because both witnesses who made in-
        court identifications had misidentified Robinson in photo arrays displayed to them
        during the earlier investigation. The Government counters that the photo of
        Robinson in the arrays was difficult to recognize. Regardless, it was for the jury to
        weigh those misidentifications against the in-court identifications and other identity
        evidence. See Callahan, 801 F.3d at 616. This court cannot now disturb those
        evidentiary determinations.

        2. Evidence of Racketeering Purpose



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        Harris and Robinson were each convicted of murder in aid of racketeering, 18
        U.S.C. § 1959(a)(1), for the murder of Donathan Moon. Each argues that there was
        not sufficient evidence that he committed the murder for one of the two possible
        statutory purposes—for pecuniary gain from the Short North Posse, or to increase
        their position within the gang. § 1959(a). But the jury was entitled to infer that
        Harris and Robinson participated in the robbery for pecuniary gain—to split the
        cash they were expecting Cunningham to have kept at his dual home/business
        venue. The jury could also infer that, since this was a bread-and-butter Homicide
        Squad robbery, any cash they stole amounted to enterprise profits, a cut of which
        they hoped to receive—from the enterprise. This is a proper application of the
        “enterprise profits” theory of pecuniary gain. As this court held in connection with
        an earlier Short North Posse appeal, “[h]aving concluded that this was a Short North
        Posse robbery, a rational jury could also conclude that [defendants] participated in
        the robbery to gain something of pecuniary value from the gang.” See Holt, 751 F.
        App’x at 827.

        Robinson argues that this theory cannot apply to him, because he was not himself
        a member of the Short North Posse enterprise. That is immaterial: Section 1959(a)
        is not limited to enterprise members. On the contrary, the pecuniary-gain prong
        paradigmatically covers actions by so-called independent contractors who perform
        violent crimes for or alongside an enterprise for profit. See Concepcion, 983 F.2d
        at 384. In fact, the defendant in Holt, 751 F. App’x at 821, was an outside associate
        as well.

        3. Crime of Violence

        For their participation in the Cunningham home invasion and Moon murder, Harris
        and Robinson were also convicted of murder by firearm during a crime of violence,
        18 U.S.C. § 924(c), (j)(1). Here, the purported “crime of violence” was conspiracy
        to commit Hobbs Act robbery, which makes it a crime to conspire to “in any way
        or degree obstruct[ ], delay[ ], or affect[ ] commerce or the movement of any article
        or commodity in commerce, by robbery.” 18 U.S.C. § 1951(a). Section 924(c)(3)
        defines “crime of violence” in two ways, but the parties agree that conspiracy to
        commit Hobbs Act robbery qualifies only if it meets § 924(c)(3)(B)'s residual
        definition. By that definition, a “crime of violence” is a felony offense “that by its
        nature, involves a substantial risk that physical force against the person or property
        of another may be used in the course of committing the offense.” § 924(c)(3)(B).

        Harris and Robinson argue that their convictions under § 924(c) must be set aside
        because § 924(c)(3)(B)'s residual clause is unconstitutionally vague.1 The Supreme
        Court has now held that § 924(c)(3)(B)'s residual definition is unconstitutionally
        vague. See United States v. Davis, No. 18-431, ––– U.S. ––––, ––––, 139 S. Ct.
        2319, ––– L.Ed.2d ––––, 2019 WL 2570623 at *13 (June 24, 2019). Because the
        Government relies only on that now-invalidated clause to support Harris's and
        Robinson's convictions under § 924(c), those convictions must be set aside.



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 Ledbetter, 929 F.3d at 359-61. Thus, to the extent that Petitioner intends to present this same

 issue here, it does not provide him a basis for relief. “It is well settled that a § 2255 motion may

 not be employed to relitigate an issue that was raised and considered on direct appeal absent

 highly exceptional circumstances, such as an intervening change in the law.” Rhodes v. United

 States, No. 2:15-cv-2756, 2:12-cr-00122, 2017 WL 978118, at *7 (S.D. Ohio Mar. 14, 2017)

 (citing Jones v. United States, 178 F.3d 790, 796 (6th Cir. 1999)). Moreover, “claims of

 insufficiency of the evidence are not properly considered in § 2255 proceedings.” United States

 v. Matsa, No. 2:15-cv-700, 2:09-cr-297, 2017 WL 4469120, at *11 (S.D. Ohio Oct. 6, 2017)

 (citing Scott v. Morrison, 58 F. App’x 602, 603 (6th Cir. 2002) (other citations omitted)).

        Further, Petitioner’s claim of ineffective assistance of counsel likewise fails. Petitioner

 complains that his attorney refused to call defense witnesses; however, he does not identify the

 nature of any proposed testimony or the identity of any potential defense witnesses that would

 have assisted him. Thus, Petitioner cannot satisfy the test set forth in Strickland v. Washington,

 466 U.S. 669 (1984), for establishing the ineffective assistance of counsel.

                                         III.     DISPOSITION

    For the reasons set forth above, it is RECOMMENDED that this action be DISMISSED.

                                PROCEDURE ON OBJECTIONS

        If any party objects to this Report and Recommendation, that party may, within fourteen

 days of the date of this Report, file and serve on all parties written objections to those specific

 proposed findings or recommendations to which objection is made, together with supporting

 authority for the objection(s). A judge of this Court shall make a de novo determination of those

 portions of the report or specified proposed findings or recommendations to which objection is

 made. Upon proper objections, a judge of this Court may accept, reject, or modify, in whole or in



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 part, the findings or recommendations made herein, may receive further evidence or may

 recommit this matter to the magistrate judge with instructions. 28 U.S.C. § 636(b)(1).

        The parties are specifically advised that failure to object to the Report and

 Recommendation will result in a waiver of the right to have the district judge review the Report

 and Recommendation de novo, and also operates as a waiver of the right to appeal the decision

 of the District Court adopting the Report and Recommendation. See Thomas v. Arn, 474 U.S.

 140 (1985); United States v. Walters, 638 F.2d 947 (6th Cir. 1981). The parties are further

 advised that, if they intend to file an appeal of any adverse decision, they may submit arguments

 in any objections filed, regarding whether a certificate of appealability should issue.



                                                       /s/ Chelsey M. Vascura___
                                                       CHELSEY M. VASCURA
                                                       UNITED STATES MAGISTRATE JUDGE




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